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                                                                             DATE FILEU:
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                 MASTER DOCKET
In re
                                                            Case No. 1:18-md-02865-LAK
CUSTOMS AND TAX ADMINISTRATION
OF THE KINGDOM OF DENMARK                              STIPULATION EXTENDING TIME
(SKATTEFORVALTNINGEN) TAX                                      TO RESPOND
REFUND SCHEME LITIGATION

This document relates to 1: 18-cv-05053-LAK



        Third-Party Plaintiffs the Goldstein Law Group PC 401 (k) Profit Sharing Plan and Sheldon

Goldstein (collectively, the "Third-Party Plaintiffs") and Third-Party Defendant ED&F Man

Capital Markets, Ltd. ("ED&F" or "Third-Party Defendant" and with Third-Party Plaintiffs, the

"Parties"), by and through their undersigned attorneys, hereby stipulate and agree as follows:

        WHEREAS on November 5, 2019 Third-Party Plaintiffs filed their Amended Answer,

Affirmative Defenses, and Counterclaims Against Skatteforvaltningen and Amended Third-Party

Complaint against ED&F Man Capital Mark~ts, Ltd. and John Does 1-10 (Dkt. 219) (the

"Amended Third-Party Complaint");

        WHEREAS the Parties have agreed that ED&F will file and serve its responsive pleading

or motion to the Amended Third-Party Complaint on or before December 6, 2019;
      Case 1:18-md-02865-LAK           Document 233      Filed 12/02/19      Page 2 of 2
         Case 1:18-md-02865-LAK Document 229 Filed 11/19/19 Page 2 of 2




        NOW THEREFORE, the Parties, hereby Stipulate and Agree as follows:

        1.     ED&F will file and serve its responsive pleading or motion to the Amended Third-

Party Complaint on or before December 6, 2019.


Dated: November 19, 2019

GUSRAE KAPLAN NUSBAUM PLLC                                AKERMANLLP
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By:     Isl Kari Parks                                    By:     Isl Brian S. Fraser

Attorneys for Third-Party Plaintiffs                      Attorneys for Third-Party Defendant



SO ORDERED:



United States District Judge
